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                        1:15-cv-07527Document
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                                                                     Page 1
                                                                          1 of
                                                                            of 14
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   THOMAS G       . BRUTON    T
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CLERK                         UNITED STATES       DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION
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(Enter above the fulIname
of the plaintiff or plaintiffs in
this action)
                                                             15cv7S2T
                               VS.                     Case iyOg" Robert M. Dow, Jr.
                                                       (To Magistrate Judge Michael T. Mason
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defendants in this action. Do not
use "et al.")

CHECK ONE ONLY:

     \                coMpLArNT uNDER THE clvrr, RTcHTS ACT, TITLE 42 sECTroN[ 1983
                      U.S. Code (state, county, or municipal defendants)

                     COMPLATNT UNDER THE CONSTITUTION ("BTVENS " ACTION), TITLE
                     28 SECTION 1331 U.S. Code (federal defendants)

                     OTHER (cite     statute,   if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING. " FOLLOW THESE INSTRACTIONS CAKEFULLY.
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            Case:1:15-cv-07527
                  1:15-cv-07527Document
                                Document#:#:11 Filed: 08/26/15
                                             1 Filed: 12/16/15 Page
                                                               Page 2
                                                                    2 of
                                                                      of 14
                                                                         14 PageID
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I.     Plaintiff(s):

       A.       Name:

       B.       List all aliases: f-id           nq-

       C.       Prisoner identifi cation number:         (-tc   {t.-(
       D.       Place of present confinement:          fr^+ iruc
       E.       Address: \1,0
                                      '      r1             o."{ i aL    r
       (If there is more than one plaintifi then each plaintiff must list his or her name, aliases, I.D.
       number, place of confinement, and curent address according to the above format on a
       separate sheet of paper.)

tI.   Defendant(s):
      (n A below,   place the full name of the first defendant in the first blank, his or her official
      position in the second blank, and his or her place of employment in the third blank. Space
      for two additional defendants is provided in B and C.)

      A.       Defendant:       V t [LtC-"^ (a ntt(L

               Place of Employment:                Jl. teyr IIc     L. L,

      B.       Defendant:
                               -I                  V i \\ tara-f
               Title: F        C'tr       Le,f
               Place of Employment:                                                {q1ev r ((e
      C.

               riil.,   t^.J   Ur   tr(-\ LfX )
               Place    orEmployment:            S]t*e Yr I {e
      (If you have more than three defendants, then all additional defendants must            be listed
      according to the above format on a separate sheet of paper,)




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                  Case:1:15-cv-07527
                        1:15-cv-07527Document
                                      Document#:#:11 Filed: 08/26/15
                                                            12/16/15 Page
                                                                     Page 3
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                                Document#:#:11 Filed: 08/26/15
                                             1 Filed: 12/16/15 Page
                                                               Page 4
                                                                    4 of
                                                                      of 14
                                                                         14 PageID
                                                                            PageID #:4
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 m.        List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
           court in the United States:

           A.     Name of case and docket number:       Zalz.lrt         < lo(,   ,   Lunnq^ <-|"{-           Wr'- 6f ff

       B.         Approximate date of filing lawsuit:     Lal.q-li       AY,      (t n n.r, zctl Qt,k-0?, U'[fudt {
       C.         List ali plaintiffb (if you had co-plaintiffs), including any aliases:




       D.        List all defendants:       v^r,Ai   Qerk,4     Lo   ["a,k i ^                                       {rr,^t



       E.        Court in which the lawsuit was filed (if federal court, name the district;    if   state court,
                                                \ a Ih.J
                 name the county): ,at{. 3"'r ( r            D, S{n'c     f
      F.         Nameofjudgetowhomcasewasassigned:                +t[ Ccte bc[.rt- Sohri Co; Tf,

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      H.         Disposition of this case (for sxaqrple: W       the case dismissed? Was it aooealed? \
                 Is it still oendins?): art"<d/ri ( Sef /1c t       ulrlo,4. | 0/\   ( ) C; l'tc- (k,tdo^S )
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      I.         Approximate date ofdispositi    on LrLecK[ Cr'(o r nl t t bd,0o

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, TIIEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREYIOUSLY FILED,
YOU WILL I\OT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO.
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HA\TE FILED.



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 Case:1:15-cv-07527
       1:15-cv-07527Document
                     Document#:#:11 Filed: 08/26/15
                                  1 Filed: 12/16/15 Page
                                                    Page 5
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                                                        Page 7
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                                                               of 14
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                     Document#:#:11 Filed: 08/26/15
                                  1 Filed: 12/16/15 Page
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                                  1 Filed: 12/16/15 Page
                                                    Page 9
                                                         9 of
                                                           of 14
                                                              14 PageID
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                                                Page10
                                                     10of
                                                        of14
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                              1 Filed:  12/16/15Page
                                                Page11
                                                     11of
                                                        of14
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                              1 Filed:  12/16/15Page
                                                Page12
                                                     12of
                                                        of14
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v.   Relief:

     State briefly exactly what you want the court to do for       you. Make no legal arguments. Cite
     no cases or statutes.

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u.   The   plaintiff demands that the case be tried by a jury.      {ru,              tr   No


                                                           CERTIFICATION

                             By signing this Complaint,      I certify that the facts stated in this
                             Complaint are true to the best of my knowledge, information and
                             belief. I understand that if this certification is not correct, I may be
                             subject to sanctions by the Court.

                             Signed   trris k          a   uv   or Z (      20   t{


                             (Signature of plaintiff




                             (LD. Number)




                             (Address)
